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                          UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

SEONTAE PICHON                              *         CIVIL ACTION
                                            *
VERSUS                                      *         NO.
                                            *
TALOS ENERGY LLC, TALOS                     *         SECT.   MAG.
ENERGY INC. OF DELAWARE,                    *         JUDGE
TALOS ENERGY OFFSHORE LLC                   *         MAGISTRATE
AND TALOS PRODUCTION INC.                   *         JURY DEMAND

                             COMPLAINT FOR DAMAGES

       The complaint of Seontae Pichon, an individual of the full age of majority,

represents:

                                            1.

       Jurisdiction exists in this Court pursuant to 28 U.S.C. Sec. 1332, and 43 U.S.C.

Sections 1333 and 1349.

                                            2.

       Venue is appropriate in this district under 28 U.S.C. 1391(b)(2) and (b)(3) because

the events giving rise to the claims asserted in this complaint occurred off the coast of

Louisiana, and because the defendants are subject to personal jurisdiction in this judicial

district and conduct business in this district.

                                            2.

       Made defendant herein is Talos Energy LLC which was, at all times pertinent

hereto, a foreign limited liability company licensed to do and doing business within the

State of Louisiana, and it conducts business within this district.


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                                           3.

       Also made defendant herein is Talos Energy Inc. of Delaware which was, at all

times pertinent hereto, a foreign limited liability company licensed to do and doing

business within the State of Louisiana, and it conducts business within this district.

                                           4.

       Also made defendant herein is Talos Energy Offshore LLC which was, at all times

pertinent hereto, a foreign limited liability company licensed to do and doing business

within the State of Louisiana, and it conducts business within district.

                                           5.

       Also made defendant herein is Talos Production Inc. which was, at all times

pertinent hereto, a foreign limited liability company licensed to do and doing business

within the State of Louisiana and in conducts business within this district.

                                           6.

       On or about January 19, 2022, Petitioner, Seontae Pichon, was employed by

Louisiana Safety Systems, Inc., as a wellhead and valve technician and was working in the

course and scope of his employment with that company aboard offshore oil and gas

production facility, owned, operated, controlled and under the garde of one or more of the

defendants, and which facility was located on the outer continental shelf adjacent to the

State of Louisiana, on or near West Cameron Block 96-D.

                                           7.

       At the said time and in the course and scope of his employment, Plaintiff was

traversing a designated walkway, when his right knee hit a ball valve handle, causing him

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to injure his right knee which crushed cartilage bruising on the right knee, causing

Petitioner to walk with a limp.

                                          8.

       Seontae Pichon asserts that the cause of the aforementioned accident was caused by

the negligence of defendants, their employees or agents and by the strict liability of the

Defendants and was a direct result of dangerous conditions that existed on the facility the

defendants knew or with the exercise of reasonable care should have known about, to

include a cluttered and unkept deck, that including scaffolding material stacked and

encroaching on the sole available and designated walkway, which condition was make

more dangerous by the improper installation of a ball valve, the handle of which extended

into the designated walkway, and which was made difficult to observe because of the lack

of any contrasting colors with the surrounding piping and containment box.

                                          9.

       The injuries sustained by Seontae Pichon include severe injuries to his body and

mind, including but not limited to, his right knee and other serious and permanently

disabling injuries to the body and mind that will prevent him from performing the necessary

duties of an able-bodied wellhead and valve technician for the rest of his life and, on

information and belief, any occupation requiring heavy manual labor.

                                          10.

       Because of said injuries and damages, Seontae Pichon has endured severe pain and

suffering and mental anguish, and he will continue to so suffer and has and will sustained

loss of income and may have to undergo knee replacement surgery in the future.

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                                            11.

       Petitioner alleges, on information and belief, that he will in the future, because of

said injuries and damages to his body and mind, endure pain and suffering and mental

anguish as well as loss of income and other elements of damages, both pecuniary and non-

pecuniary, all of which entitles Petitioner, Seontae Pichon, to damages that are reasonable

in the premises.

                                            12.

       Petitioner desires and is entitled to a trial by jury on all issues.

       WHEREFORE, Seontae Pichon prays that process in due form of law and

according to the Federal Rules of Civil Procedure issue against Defendants, Talos Energy

LLC, Talos Energy Inc. of Delaware, Talos Energy Offshore LLC and Talos Production

Inc., directing them to appear and answer, all and singular, the matters aforesaid; that after

due proceedings have been had, there be judgment in favor of Petitioner, Seontae Pichon,

and against the Defendants, Talos Energy LLC, Talos Energy Inc. of Delaware, Talos

Energy Offshore LLC and Talos Production Inc., jointly and in solido, for damages in an

amount reasonable under the circumstances of this cause, together with legal interest from

date of judicial demand and for all costs of these proceedings;

       Petitioner further prays for all general and equitable relief which the justice of the

cause may require and to which they may otherwise be entitled and that all experts’ fees

be taxed as costs.




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Petitioner further prayers for a trial by jury on all issues.

                                     Respectfully submitted:

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                              BY:    /s/ Stephen J. Johnson
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